Case 7:19-cr-00600 Document 1 Filed on 04/01/19 in TXSD Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

MCALLEN DIvISIoN
UNTED sTATEs oF AMERICA §
v. § CRIMINALNO. '- 1 9 7 6 0 0
GERARDo TAFoLLA §
Defendant. §

SEALED CRIMINAL INFORMATION
THE UNITED STATES ATTORNEY CHARGES:
COUNT ONE
18 U.S.C. § 666(a)(1)(B)
Federal Program Bribery
From at least in or about August 2011 through at least October 2014, in the Southern

District of Texas and elsewhere Within the jurisdiction of the court, defendant,

GERARDO TAFOLLA,
an agent of a local government, namely a commissioner for the City of Weslaco, a local
government that received benefits in excess of $10,000 pursuant to a Federal program involving a
grant, contract, subsidy, loan guarantee, and other forms of Federal assistance in each year from
201 l through 2014, did corruptly solicit, demand, accept, and agree to accept a thing of value, that
is, United States currency, from a person, intending to be influenced and rewarded in connection
With a business, transaction, and series of transactions of the City of Weslaco, Texas valued at
SS,OOO or more, that is, the contracts for construction and rehabilitation of Water treatment facilities

in the City of Weslaco, Texas.

All in violation of Title 18, United States Code, Section 666(a)(l)(B).

Case 7:19-cr-00600 Document 1 Filed on 04/01/19 in TXSD Page 2 of 3

NoTICE oF FoRFEITURE
18 U.s.C. § 981(3)(1)(€)311(1 28 U.s.C. § 2461(@)

l. Upon conviction of the offense in violation of Title 18, United States Code,

Section 666 set forth in Count One of this Information, the defendant,
GERARDO TAFOLLA

shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461(0), any property, real or personal,
Which constitutes or is derived from proceeds traceable to the offense.

2. The property subject to forfeiture, includes, but is not limited to, the following
property: at least $20,000.00 in U.S. currency.

3. Defendant is notified that a money judgment may be imposed equal to the total

value of the property subject to forfeiture.

4. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited With, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled With other property Which cannot be divided
Without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(¢).

Case 7:19-cr-00600 Document 1 Filed on 04/01/19 in TXSD Page 3 of 3

An pnrsnant to 18 U.s.C. § 981(a)(1)(C) and 28 U.s.C. § 2461(¢).

RYAN K. PATRICK
United States Attorney

gri/f

Roberto Lo ~ '
Assistant 1 f ¢
Southe ' l .

    
       
 

States Attomey
of TeXas

ANNALOU TIROL
Acting Chief
Public lntegrity Section

/s/ Peter M. Nothstein

Peter M. Nothstein

Jessica C. Harvey

Tn`al Attorneys

Public lntegrity Section, Criminal Division
Email: Peter.Nothstein@usdoj . gov

Email: J essica.Harvey@usdoj . gov

